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Case 2:03-cr-2012§jH|\/| Docu§ent 255 Filed 08/30/05 Page 1 of 2 Page|D 303
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Western District of Tennessee '““~“~ D'c-

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UNITED STATES OF ALdERICA

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WrD G.’F n-.,_, SUI>PJS
V_ Case Number CR 2:03CR20128-04-Ma
KATHY L. COOK

.]UDGMENT AND COMMITMENT ORDER
ON REVOCATION OF PROBATION SUPERVISION

(For OIfeoses Committed 011 or After Novemher 1, 1987)

The defendant, Kathy L. Cook, was represented by Ms. Pamela Hamrin.

It appearing that the defendant, who was sentenced in the above-styled cause by the Hon.
Samuel H. Mays, Jr. on July 7, 2004, and was placed on probation supervision for a period of two
(2) years, has violated the terms of her supervision, it is hereby ORDERED and ADJUDGED that
the defendant’s probation be revoked and that defendant be committed to the custody of the United
States Bureau of Prisons to be imprisoned for a term of nine (9) months.

The defendant is remanded to the custody of the United States Marshal.

Signed this 3 o m day of August, 2005.

 

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SAMUEL H. MAYS, .IR.
United States District Judge

 

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Honorable Sarnuel Mays
US DISTRICT COURT

